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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                    )       CASE NO. 1:17-MD-2804
OPIATE LITIGATION                               )
                                                )       Judge Dan Aaron Polster
THIS DOCUMENT RELATES TO:                       )
“Track Three Cases”                             )
                                                )
                                                )       ORDER REGARDING
                                                )       “PERSONS WITH RELEVANT
                                                )       KNOWLEDGE”


        In its Case Management Order, the Court required the Track Three parties to “identify

persons and entities with relevant knowledge” two months before the close of fact discovery. CMO

at 6, ¶E.6 (docket no. 3329). The point of this requirement was for the parties to begin to narrow

down – both for themselves and for their opposition – the universe of persons most likely to be

called as witnesses at trial. This would allow the parties to better identify persons worthy of

deposition. The CMO also sets forth a subsequent obligation requiring further narrowing and

identification of witnesses before trial, as well as narrowed additional depositions. See id. ¶K.8

(setting a deadline for “Parties to file witness lists and exhibit lists. Plaintiffs as a group and

Defendants as a group will each jointly identify no more than 50 fact witnesses whom they are most

likely to call at trial.”); id. ¶K.9 (setting a deadline for “depos[ing] ‘most likely’ witnesses who were

not earlier deposed.”).

        The two County Plaintiffs responded collectively to their initial obligation by identifying

about 111 individuals as persons with relevant knowledge. As noted, Plaintiffs will later be
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obligated to further narrow this list to 50.

       The five Pharmacy Defendants responded collectively by identifying about 75,000

individuals. Obviously, this latter list did not help Plaintiffs, the Defendants themselves, or the

Court to better understand whom defendants were most likely to call at trial. Defendants will also

later be obligated to further narrow their list to 50, but – absent an additional order from the Court

– Plaintiffs will have received no helpful narrowing until then.

       Accordingly, the Court held a teleconference with the parties on December 2, 2020, where

the Court asked for suggestions on how to rectify Defendants’ 75,000-person submission. The Court

received letters from both Plaintiffs and Defendants. Having reviewed those submissions, the Court

now orders as follows.

       On or before January 8, 2021, Defendants shall submit a revised list of persons with relevant

knowledge. Defendants have three choices on how this list may be comprised, and their choice will

carry a consequence regarding the number of depositions Plaintiffs are allowed. (Plaintiffs are

currently allowed 28 fact discovery depositions total, with no more than 7 per defendant family, see

CMO ¶F.1) The three choices for Defendants are as follows:

•      (A) Each Defendant shall identify 50 named employees who have not already been deposed.
       Of these, no more than 15 employees on each Defendant’s list will be from corporate. The
       remainder will be field personnel in the Track Three counties—namely pharmacists and their
       supervisors. Rather than the existing deposition limits, Plaintiffs shall be allowed 52 fact
       discovery depositions total, with no more than 13 per Defendant.

•      (B) Each Defendant shall identify 40 named employees who have not already been deposed.
       Of these, no more than 15 employees on each Defendant’s list will be from corporate. The
       remainder will be field personnel in the Track Three counties—namely pharmacists and their
       supervisors. Rather than the existing deposition limits, Plaintiffs shall be allowed 40 fact
       discovery depositions total, with no more than 10 per Defendant.


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•      (C) Each Defendant shall identify 30 named employees who have not already been deposed.
       Of these, no more than 15 employees on each Defendant’s list will be from corporate. The
       remainder will be field personnel in the Track Three counties—namely pharmacists and their
       supervisors. The existing deposition limits for Plaintiffs will remain unchanged.

       The Court also reminds all parties of the provisions at CMO ¶K.9. If a Defendant includes

a person on its list of “fact witnesses whom they are most likely to call at trial,” but did not earlier

name that individual on its list of persons with relevant knowledge, then good cause under ¶K.9 is

almost certainly established.

       The Court declines to adopt any of the other suggestions made by the parties in their letters.

The Court has received the parties’ proposed revisions to CMO deadlines, which they sent

separately, and the Court will issue an amended Case Management Order shortly.

       IT IS SO ORDERED.


                                                       /s/ Dan Aaron Polster
                                                       DAN AARON POLSTER
                                                       UNITED STATES DISTRICT JUDGE

Dated: December 23, 2020




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